Case 2:19-bk-17598-BR   Doc 19 Filed 09/08/19 Entered 09/08/19 07:29:21   Desc
                         Main Document    Page 1 of 7
Case 2:19-bk-17598-BR   Doc 19 Filed 09/08/19 Entered 09/08/19 07:29:21   Desc
                         Main Document    Page 2 of 7
Case 2:19-bk-17598-BR   Doc 19 Filed 09/08/19 Entered 09/08/19 07:29:21   Desc
                         Main Document    Page 3 of 7
Case 2:19-bk-17598-BR   Doc 19 Filed 09/08/19 Entered 09/08/19 07:29:21   Desc
                         Main Document    Page 4 of 7
Case 2:19-bk-17598-BR   Doc 19 Filed 09/08/19 Entered 09/08/19 07:29:21   Desc
                         Main Document    Page 5 of 7
Case 2:19-bk-17598-BR   Doc 19 Filed 09/08/19 Entered 09/08/19 07:29:21   Desc
                         Main Document    Page 6 of 7
Case 2:19-bk-17598-BR   Doc 19 Filed 09/08/19 Entered 09/08/19 07:29:21   Desc
                         Main Document    Page 7 of 7
